Case 2:05-cr-20251-SH|\/| Document 2 Filed 07/08/05 Page 1 of 2 Page|D 9

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FOR THE
WESTERN DISTRICT 0F TENNESSEE 05 Jul_ -3 PH h= 03

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UNITED sTATEs 0F AMERICA wild OF \ trw

vs.
CR. NO. 05-20251-Ma

vv\.lv\_r

ALANDUS LANE,

APPLiCATlON ORDER and WR|T FOR HABEAS CORPUS AD PROSE UENDUM

 

Camii|e R. McMullen, Assistant United States Attorney applies to the Court for a Writ to
have Alandus Lane, DOB 8/13!1974, SSN XXX-XX-XXXX now being detained at the Shelby
County Jail, Memphis, Tennessee, to appear before the Honorab|e U.S. Distri<:tJudgeil=c-i'-}iei.:r1 a 5

Wgn Ju|y ;59': 2005, at 2:00 p.m., an initial appearance and for such otherappearances

as this Court may direct.

Respectfu|ly submitted this Bth day of July, 2005.

 

Assistant ‘U. §. Att¢'rney

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Upon consideration of the foregoing App|ication,
DAV|D G. JOLLEYl U.S. MARsHAL, WESTERN DlSTRlcT oF TENNEssEE, MEMPHls, TN AND A. C.
GlLLESS, SHERIFF.
YOU ARE HEREB¥ COMMANDED to have ALANDUS LANE, appear before the HONORABLE U.S.

MAG|STRATE JUDGE THOMAS S. ANDERSON on the date and time aforementioned

@"“"
ENTERED this day of 2005.

ML z Z/€/y/

U.S. MAG|STRATE JUDGE

This document entered on the docket sheet ln com iiance
Warh ama 55 and/or sz(b) FRch on Z'Z/;QE

   

UNITED sTTEs DRISTICT OURT - WESTERN D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CR-20251 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

 

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honcrable Samuel Mays
US DISTRICT COURT

